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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA                                                                 PLAINTIFF

 v.                                    No. 5:13-CR-50004-004

 DAVID FISHER                                                                           DEFENDANT

                                               ORDER

        Currently before the Court is Defendant David Fisher’s motion (Doc. 107) to use juror

 questionnaire and a proposed questionnaire attached as Exhibit 1 to the motion. No response has

 been filed by the government although the motion states that Fisher provided the government with

 the proposed questionnaire, and the government objects to use of the proposed questionnaire.

 Having reviewed the motion and the proposed questionnaire, the Court finds that the motion should

 be DENIED.

         The selection of trial jurors is governed by Rule 24(a) of the Federal Rules of Criminal

 Procedure. The rule provides as follows:

        (a) Examination.
               (1) In General. The court may examine prospective jurors or may permit the
               attorneys for the parties to do so.
               (2) Court Examination. If the Court examines the jurors, it must permit the
               attorneys for the parties to:
                      (A) ask further questions that the court considers proper; or
                      (B) submit further questions that the court may ask if the court considers
                      them proper.

 The district court has wide discretion in determining how to conduct voir dire in a criminal trial.

 Rosales-Lopez v. United States, 451 U.S. 182, 189 (1981) (“Because the obligation to impanel an

 impartial jury lies in the first instance with the trial judge, and because he must rely largely on his



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 immediate perceptions, federal judges have been accorded ample discretion in determining how best

 to conduct the voir dire.”); United States v. Lawrence, 952 F.2d 1034 (8th Cir. 1992). This

 discretion extends to a district court’s decision whether to submit a jury questionnaire to the jury

 panel. See e.g., United States v. Phibbs, 999 F.2d 1053, 1071 (6th Cir. 1993); United States v.

 Hoffman, 2009 WL 464909 (W.D. AR 2009).

          Fisher states that submitting the proposed jury questionnaire will assist the parties, and

 minimize repetitive and unnecessary questioning. He also states that because of the media attention

 this case has received, the potential for juror bias is extreme, and the jury questionnaire will assist

 the court in ferreting out biased jurors. The proposed jury questionnaire is 26 pages long consisting

 of 143 questions. The questionnaire attempts to elicit information such as political and religious

 preferences, favorite television shows, hobbies, movies, books and the annual gross income for one’s

 household, as well as other information. The questionnaire is more designed to assist the defendant

 in exercising his peremptory challenges than in determining whether a proposed juror’s bias is

 grounds to be excused from the panel for cause. See Phipps, 999 F.2d at 1071 (holding no abuse of

 discretion in refusing questionnaire and stating that while information such as what books potential

 jurors read, what televisions shows they watched, etc. “might have aided defendants in identifying

 sympathetic jurors, it was not needed to compose a fair-minded jury”).

      The court believes it can conduct a voir dire examination that will ferret out jurors whose bias

 may be grounds to excuse for cause. In accordance with Rule 24(a)(1), the court will allow the

 parties to conduct a limited voir dire examination, and counsel for defendant can use their

 discretion—within the bounds of what the Court considers proper—as to the questions they wish to

 ask the jury panel.


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       For all the reasons set forth above, IT IS ORDERED that Fisher’s motion to use juror

 questionnaire (Doc. 107) is DENIED.

       IT IS SO ORDERED this 23rd day of September, 2013.


                                                          /s/P. K. Holmes, III
                                                          P.K. HOLMES, III
                                                          CHIEF U.S. DISTRICT JUDGE




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